Case 2:05-cv-00192-GZS Document 49 Filed 07/12/06 Page 1 of 3                    PageID #: 226




                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE


  IVAN M. SUZMAN,                              )
                                               )
         Plaintiff                             )
                                               )
                                               )    Civil No. 05-192-P-S
         v.                                    )
                                               )
  ADOLPH CRISP, et al.,                        )
                                               )
         Defendants                            )


     ORDER ON MOTION TO QUASH AND RECOMMENDED DECISION ON
    MOTION TO DISMISS BY DEFENDANT ADOLPH CRISP (DOCKET NO. 34)

         In his complaint Suzman relates that he has advanced Young-Onset Parkinson's

  Disease and complains of the defendants' fraud and deceit apropos their 'care' of him after

  he sought help in the wake of a personal crisis. Herein I address a single pleading by

  Adolph Crisp (Docket No. 34) which seeks an order quashing the "purported but

  insufficient process" and dismissing the complaint against him in view of the quashing of

  service. I also address Crisp's addendum to that motion. (Docket No. 40.)

          Crisp complains that the Process Receipt and Return of Service by the United

  States Marshal only is evidence that "a delivery of something was made, possibly at the

  Defendant's residence, on April 25, 2006, on about '1656 p.m.' (which presumably means

  4:56 in the afternoon)." (Crisp Mot. at 3.) In support of his motion, Crisp has filed an

  affidavit completed by Connie Mattingly, his housekeeper. (See Docket No. 35.) In this

  affidavit Mattingly represents that Crisp was out of town on April 25, 2006, and that a

  United States Marshal (she presumes) delivered certain papers which she recalls to have
Case 2:05-cv-00192-GZS Document 49 Filed 07/12/06 Page 2 of 3                    PageID #: 227




  included an amended complaint along with certain other documents that were evidently

  exhibits in this case. (Mattingly Aff. ¶¶ 2-3.) Mattingly told the officer that she would

  deliver the papers to Mr. Crisp upon his return. (Id.) She represents that one document

  that was not delivered to her was anything that looked like the summons (Id. ¶ 4.),

  attached to her affidavit as Exhibit A and docketed at Docket No. 19.

         It is evident from his own pleadings that Crisp received the amended complaint

  and that he now has a copy of the summons, whether through the electronic docket or by

  service by the United States Marshal. I DENY his motion to quash. I, therefore, also

  RECOMMEND that the court DENY his motion to dismiss.

         In a separate memorandum and order I have denied Rayella Booton-Brown's

  motions to strike and motion for a more definite statement; recommended that the court

  deny her motion to dismiss for failure to state a claim; and granted her motion for an

  extension of time in which to file an answer. Crisp has filed a pleading amending this

  motion to adopt the substance of Booton-Brown's motion. (Docket No. 40.) I DENY

  Crisp's parasitical motions to strike and motion for a more definite statement and

  recommend that the court DENY his motion to dismiss for failure to state a claim.

  Based on my disposition of Booton-Brown's motion for an extension of time to file an

  answer, I GRANT Crisp until September 1, 2006, or 10 days following resolution of any

  objections to the recommended decisions, whichever is later, to file his answer.

                                           NOTICE


                 A party may file objections to those specified portions of a
         magistrate judge’s report or proposed findings or recommended decisions
         entered pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by
         the district court is sought, together with a supporting me morandum,
         within ten (10) days of being served with a copy thereof. A responsive



                                               2
Case 2:05-cv-00192-GZS Document 49 Filed 07/12/06 Page 3 of 3                      PageID #: 228




         memorandum shall be filed within ten (10) days after the filing of the
         objection.

                  Failure to file a timely objection shall constitute a waiver of the
         right to de novo review by the district court and to appeal the district
         court’s order.

  July 12, 2006.
                                                 /s/Margaret J. Kravchuk
                                                 U.S. Magistrate Judge




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